                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION


UNITED STATES OF AMERICA          )                    DOCKET NO. 5:06CR044-RLV
                                  )
           vs.                    )
                                  )                   ORDER FOR DISMISSAL OF
TINA CHATHAM CAVIN                )                   INDICTMENT AS TO
_________________________________ )                   TINA CHATHAM CAVIN


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment in the above-

captioned case only as to defendant TINA CHATHAM CAVIN , without prejudice.

       The Clerk is directed to certify copies of this Order to the United States Probation Office, the

United States Marshals Service and the United States Attorney's Office.


                                                  Signed: June 26, 2008




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